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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

_______________________________________
                                       )
UNITED STATES OF AMERICA               )
                                       )
      v.                               )                      Criminal Action No.
                                       )                      17-10158-FDS
ALBERT TADERERA,                       )
                                       )
            Defendant.                 )
_______________________________________)

                   ORDER ON DEFENDANT’S MOTION TO COMPEL

SAYLOR, J.

       Defendant Albert Taderera is charged with two counts of armed bank robbery in violation

of 18 U.S.C. § 2113(a), (d).

       On June 18, 2018, Taderera moved to compel certain discovery from the government.

Specifically, he requested (1) an official, signed copy of a report by Officer John Oliveira, which

allegedly states that a witness positively identified Taderera from surveillance videos of

robberies; (2) all DNA processing worksheets, from evidence intake to disposition, including

LIMS chain-of-custody receipts and all CODIS related information where applicable;

(3) electronic copies (on a CD) of all electronic DNA data files generated in this case for all

evidentiary and known samples and associated controls (all GeneMapper ID/IDX files, .fsa or

equivalent files); and (4) all STRmix (or other probabilistic genotyping software) generated

reports and analysis files, including all STRmix analysis settings. (Docket No. 102 at 3).

       According to Local Rule 7.1(b)(2), the government had fourteen days from June 18 to file

an opposition. No opposition has been filed and no request for an extension of time has been

made. Taderera renewed his request on July 12 and July 13, 2018, by refiling the same motion.

       Because the motion is unopposed and appears to be meritorious, it is hereby GRANTED.
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The government is ORDERED to produce the requested discovery within 14 days of the date of

this order.

So Ordered.

                                                        /s/ F. Dennis Saylor
                                                        F. Dennis Saylor, IV
Dated: July 18, 2018                                    United States District Judge




                                             2
